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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
______________________________
                              )
JAMES ROBERT LONG,            )
Petitioner,                   )
                              )
v.                            )                                   Civil Action No.
                              )                                   4:23-40169-MRG
                              )
MERRICK GARLAND, UNITED )
STATES ATTORNEY               )
GENERAL & WARDEN BOWERS )
Respondents.                  )
______________________________)


  MEMORANDUM AND ORDER TRANSFERRING CASE TO THE UNITED STATES
    DISTRICT COURT FOR THE EASTERN DISTRICT OF NORTH CAROLINA

GUZMAN, J.

        Petitioner James Robert Long (“Petitioner” or “Long”) filed the instant habeas petition

pursuant to 28 U.S.C § 2241 (“§ 2241”) in the United States District Court for the District of

Massachusetts – contesting his 2005 civil commitment by the United States District Court for the

Eastern District of North Carolina (“Committing Court”). [See ECF No. 1 at 1]. Before the Court

is Respondent Bowers’ motion to dismiss Long’s petition for lack of subject matter jurisdiction.

[ECF No. 12]. For the reasons stated below, the Court declines to rule on Respondent’s motion to

dismiss [ECF No. 12], and Petitioner’s Writ of Habeas Corpus [ECF No. 1] hereby is

TRANSFERRED to the United States District Court of the Eastern District of North Carolina.

   I.      Background

           A. Facts Relevant to Motion to Dismiss




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        In June 2003, Long was charged in the U.S. District Court for the Eastern District of New

York with Cocaine Base Heroin Conspiracy, Use of a Firearm during a Trafficking Offense, and

Distribution of Cocaine Base. [ECF No. 13 at 2]. He was subsequently transferred to the Federal

Medical Center in Butner, North Carolina (“FMC-Butner”) in 2003 and 2004 for competency and

restoration evaluations. [Id.]. In November 2004, the Bureau of Prisons (“BOP”) determined that

Long did suffer from a mental disease or defect, the result of which would create a substantial risk

of bodily injury to another person or serious damage to the property of another should he be

released. [Id.] As a result, on May 10, 2005, the United States District Court for the Eastern District

of North Carolina civilly committed Long to the custody of the Attorney General pursuant to 18

U.S.C. § 4246(d). [Id., see also Commitment Order, ECF No. 15-1 (sealed)]. On March 30, 2022,

Long was transferred to the Federal Medical Center, Devens (“FMC-Devens”) in Massachusetts. 1

[ECF No. 13 at 3]. Since Long’s commitment, BOP has provided the Committing Court in the

Eastern District of North Carolina with Annual Forensic Updates and Risk Assessment Panel

Reports as required by § 4246. [Id.] Respondent’s Memorandum in Support of his Motion to

Dismiss details the efforts that BOP’s Social Work Department has made to seek placement for

Long in a New York state facility and indicates that Long may soon be eligible for conditional

release. [See id. at 3-6]. 2

            B. Long’s Habeas Petition

        On December 1, 2023, Long filed a Petition for Writ of Habeas Corpus pursuant to 28

U.S.C. § 2241 in this Court. [ECF No. 1]. Long asserts two grounds for habeas relief: (1) that he


1
  Long resided at FMC Butner through 2017, before being designated to and arriving at FMC Rochester,
Minnesota (“FMC Rochester”) in August of 2017. He remained at FMC Rochester through 2022, before
being transferred FMC Devens on March 30, 2022. [ECF No. 13 at 3 n.2].
2
  These developments are not relevant to this Order’s legal analysis and the Court incorporates them by
reference as opposed to restating them here.

                                                   2
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has been denied due process due to the Attorney General, Warden Bowers, and FMC Devens’

social worker improperly refusing to place him in a New York state hospital (“Ground One”), and

(2) that his counsel was constitutionally ineffective in that they failed to file certain relevant

motions and refused to find and/or seek alternative state placement (“Ground Two”). [See id. at 6-

7]. Specifically, Long states that he is “looking for civil commitment in a New York State

Hospital.” [Id. at 2].

    II.      Legal Standard

          While Long has a right to bring his petition under 28 U.S.C. § 2241 to challenge his civil

commitment, “habeas corpus is an extraordinary remedy typically available only when the

petitioner has no other remedy.” Cockerham v. Boncher, No. 1:22-CV-11159-ADB, 2023 WL

5179248, at *3 (D. Mass. Aug. 11, 2023) (citation and quotation marks omitted). As other courts

in this District have held, petitioners in Long’s position do have another remedy – they should first

seek discharge under 18 U.S.C. § 4247(h). 3 See id. at *4; Weiler v. Kijakazi, No. 21-cv-11614,

2021 WL 4754767, at *3 (D. Mass. Oct. 12, 2021); Commey v. Grandolsky, 2 F. Supp. 3d 48, 49

(D. Mass. 2014). Under 18 U.S.C. § 4247(h), a person seeking discharge who has been civilly

committed pursuant to 18 U.S.C § 4246 may “file with the court that ordered the commitment a

motion for a hearing to determine whether the person should be discharged.” 18 U.S.C. § 4247(h)

(emphasis added).



3
 18 U.S.C. § 4247(h) states as follows: “Regardless of whether the director of the facility in which a
person is committed has filed a certificate pursuant to the provisions of subsection (e) of section 4241,
4244, 4245, 4246, or 4248, or subsection (f) of section 4243, counsel for the person or his legal guardian
may, at any time during such person’s commitment, file with the court that ordered the commitment a
motion for a hearing to determine whether the person should be discharged from such facility, but no such
motion may be filed within one hundred and eighty days of a court determination that the person should
continue to be committed. A copy of the motion shall be sent to the director of the facility in which the
person is committed and to the attorney for the Government.”

                                                    3
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    III.      Discussion

    As noted, the United States District Court of the Eastern District of North Carolina civilly

committed Long to the custody of the Attorney General pursuant to 18 U.S.C. § 4246(d). As 18

U.S.C. § 4247(h) requires, petitions for discharge from civil commitment under Section 4246(d)

must be filed with the Committing Court. Thus, only the United States District Court of the Eastern

District of North Carolina “may grant the statutory relief [Long] seeks, either conditional or

unconditional release.” Commey, 2 F. Supp. 3d at 49 (citation omitted) (transferring petition for

release from civil commitment for adjudication by the committing court).

    IV.       Conclusion

           For the foregoing reasons, this Court is not the proper forum to hear Long’s petition, and

accordingly, the Court declines to dismiss the case at this time. In the interest of justice, it is ordered

that the above-styled case be TRANSFERRED to the United States District Court of the Eastern

District of North Carolina pursuant to 28 U.S.C. § 1406(a).

SO ORDERED.

Dated: May 29, 2024

                                                          /s/ Margaret R. Guzman
                                                         Margaret R. Guzman
                                                         United States District Judge




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